             Case 8:19-cr-00096-GJH Document 58 Filed 05/28/19 Page 1 of 1



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                                             May 28, 2019

Via ECF Filing
Honorable George J. Hazel
United States District Judge
U.S. District Court for the District of Maryland
6500 Cherrywood Lane
Greenbelt, Maryland 20770

          Re:       United States v. Christopher Hasson, Criminal Case No. 19-cr-0096-GJH

Dear Judge Hazel:

        I am writing on behalf of the defendant, Christopher Hasson, to respectfully request that
the Court grant a further extension of the deadline for filing motions in this matter. Motions are
currently due on June 3 and a status call is scheduled for June 4 at 9:30 a.m. One previous
extension of the motions deadline has been granted.

       A further extension of time is needed for two reasons. First, the parties agree that
additional time will be helpful in determining whether there is a possibility of resolving this matter,
without the need for litigating motions or trial. Second, voluminous discovery has been provided
and defense counsel requires additional time to thoroughly review those materials prior to filing
motions.

       For these reasons, we respectfully request that the Court grant an additional three-week
extension of the motions deadline. Under the proposed new schedule, defense motions would be
due on June 24. Counsel for the government consents to this request.

                                                Respectfully submitted,

                                                            /s/

                                                Elizabeth G. Oyer
                                                Assistant Federal Public Defender

          EGO:sdf
          cc: Thomas Windom, AUSA
              Jennifer Sykes, AUSA
